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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

                                                   :
Allan Haberkorn,                                   :
                                                     Civil Action No.: 5:12-cv-00923
                                                   :
                        Plaintiff,                 :
                                                   :
        v.                                         :
                                                     COMPLAINT
                                                   :
                                                     JURY
Collection Recovery Services, Inc.,                :
                                                   :
                        Defendant.                 :
                                                   :



                For this Complaint, the Plaintiff, Allan Haberkorn, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of the Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant and its agents in their illegal efforts to collect a

consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendant transacts business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.
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                                            PARTIES

       4.      The Plaintiff, Allan Haberkorn (“Plaintiff”), is an adult individual residing in

Canyon Lake, Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      The Defendant, Collection Recovery Services, Inc. (“CRS”), is a Pennsylvania

business entity with an address of 29 Regency Plaza, Glen Mills, Pennsylvania 19342, operating

as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.     The Debt


       6.      The Plaintiff allegedly incurred a financial obligation in the approximate amount

of $12,000.00 (the “Debt”) to Ford (the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       8.      The Debt was purchased, assigned or transferred to CRS for collection, or CRS

was employed by the CRS to collect the Debt.

       9.      The Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


B.     CRS Engages in Harassment and Abusive Tactics


       10.     Within the last year, Defendant placed calls daily to Plaintiff in an attempt to

collect the Debt.




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       11.     During an initial conversation, Plaintiff explained to Defendant that he had just

had surgery and was not sure of his financial situation at the time due to his medical bills.

Plaintiff requested that Defendants call him again in a month regarding the Debt.

       12.     Despite such request, Defendant continued to place calls to Plaintiff in an attempt

to collect the Debt.

       13.     On or around September 25, 2012, Defendant placed a call to Plaintiff’s ex-wife,

who was not a co-signer on the Debt.

       14.     During this conversation, Defendant disclosed information regarding the nature of

the Debt that belonged to Plaintiff. Defendant informed Plaintiff’s ex-wife the amount of the

Debt owed, the last time Defendant had contact with Plaintiff, the worth of Plaintiff’s primary

residence, purveyed a settlement offer and proceeded to threaten that the Creditor would obtain a

judgment to place a lien on Plaintiff’s house.

       15.     Furthermore, Defendant failed to send Plaintiff written validation of the Debt.


C.     Plaintiff Suffered Actual Damages


       16.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendant’s unlawful conduct.

       17.     As a direct consequence of the Defendant’s acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.


                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       18.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

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          19.     The Defendant’s conduct violated 15 U.S.C. § 1692c(b) in that Defendant

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.

          20.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

          21.     The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

          22.     The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive, or misleading representation or means in connection with the collection of a debt.

          23.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

          24.     The Defendant’s conduct violated 15 U.S.C. § 1692g(a) in that Defendant failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

          25.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

          26.     The Plaintiff is entitled to damages as a result of Defendant’s violations.


                                   COUNT II
            INVASION OF PRIVACY BY INTRUSION INTO PRIVATE AFFAIRS

          27.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.



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       28.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       29.     Texas further recognizes the Plaintiff’s right to be free from invasions of privacy,

thus the Defendants violated Texas state law.

       30.     The Defendant intentionally intruded upon the Plaintiff’s right to privacy by

continually harassing the Plaintiff with phone calls.

       31.     The telephone calls made by the Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       32.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       33.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.

       34.     All acts of the Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendants are subject to punitive damages.


                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant;

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                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                      against the Defendant;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3) against the Defendants;

                 4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

                 5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                 6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                      Code Ann. § 392.404(a);

                 7. Actual damages from the Defendant for the all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations and intentional, reckless, and/or negligent invasions of

                      privacy in an amount to be determined at trial for the Plaintiff;

                 8. Punitive damages; and

                 9. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: October 1, 2012
                                               Respectfully submitted,

                                               By: __/s/ Jody B. Burton_________

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